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POTTERS 8c DELLA PIETRA LLP

CQUNSELORS AT LAW

 

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October 19, 2017

By eFile

Honorable Leda Dunne Wettre, U.S.M.J.

United States District Court for the District of New Jersey
Martin Luther King Jr. Federal Building and

U.S. Courthouse

50 Walnut Street, Roorn 4015

Newark, New Jersey 07102

Re: Golden, e_t g v. New Jersey Institute of Technology, e_t a_l. v. FBI
Civil Action No. 2:15-cv-8559
PDP File No. 80321.50606

Dear Magistrate Wettre:

Counsel for plaintiffs and NJIT have agreed on the following briefing schedule on
plaintiff`s’ fee application Plaintiffs’ fee application will be filed and served on November 30.
NJIT’s opposition will be filed and served on December 22. Plaintiffs’ reply will be filed and
served on January 12.

Following our most recent telephone conference with Your Honor, counsel for NHT and
the FBI have agreed to hold in abeyance motions related to the third-party action pending the
disposition of plaintiffs’ fee application Plaintiffs’ counsel does not object to this approach by

NJIT and the FBI.
Thank you.
Respectfully submitted,
So Ordered
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l.eda D. Wettre, USM:

 

